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                                                                   JANUARY 06, 2025



                        FACT SHEET: President Biden Protects
                      Atlantic and Pacific Coasts from Offshore Oil
                                    and Gas Drilling


                     President Biden has now conserved over 670 million acres of America’s lands
                                       and waters, more than any other president in history


                   Today President Biden will take action to protect the entire U.S. East coast,
                   the eastern Gulf of Mexico, the Pacific off the coasts of Washington, Oregon,
                   and California, and additional portions of the Northern Bering Sea in Alaska
                   from future oil and natural gas leasing. In protecting more than 625 million
                   acres of the U.S. ocean from offshore drilling, President Biden has
                   determined that the environmental and economic risks and harms that
                   would result from drilling in these areas outweigh their limited fossil fuel
                   resource potential. With these withdrawals, President Biden is protecting
                   coastal communities, marine ecosystems, and local economies – including
                   fishing, recreation, and tourism – from oil spills and other impacts of offshore
                   drilling.


                   Nearly forty percent of Americans live in coastal counties that rely on a
                   healthy ocean to thrive. With today’s action, President Biden is ensuring that
                   these regions can remain healthy and safe from the risk of oil spills resulting
                   from development that would do little, if anything, to meet the nation’s
                   energy needs.

                   Nearly 400 municipalities and over 2,300 elected local, state, Tribal, and
                   federal officials across the Atlantic, Pacific, and Gulf coasts have formally
                   opposed the expansion of offshore drilling in these areas in view of its severe
                   environmental, health, and economic threats. Nearly every Governor along
                   the East and West Coasts – Republicans and Democrats alike – has expressed
                   concerns about expanded oil and gas drilling off their coastlines. In Alaska,
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                   the new Northern Bering Sea protections are consistent with a long-standing
                   request from more than 70 coastal Tribes based on the need to help sustain a
                   vital and threatened ocean area, and the natural resources it contains that
                   Indigenous communities have stewarded and relied on for subsistence since
                   time immemorial.


                   Following this action, President Biden will have conserved more lands and
                   waters than any other U.S. president in history.


                   Protecting the Atlantic Ocean, Pacific Ocean, Eastern Gulf of Mexico and
                   Northern Bering Sea from Offshore Drilling


                   Using his authority under Section 12(a) of the Outer Continental Shelf Lands
                   Act, President Biden is issuing two Presidential Memoranda to protect all
                   U.S. Outer Continental Shelf areas off the East and West coasts, the eastern
                   Gulf of Mexico, and additional portions of the Northern Bering Sea in Alaska
                   from future oil and natural gas leasing. The withdrawals have no expiration
                   date, and prohibit all future oil and natural gas leasing in the areas
                   withdrawn. President Biden first used this authority in January of 2021 when
                   he restored protections for part of the Northern Bering Sea, and again in
                   March 2023 to withdraw 2.8 million acres of the Beaufort Sea from future oil
                   and gas leasing, which completed protections for the entire U.S. Arctic
                   Ocean.

                   Today’s action will safeguard three distinct ocean and coastal regions:


                         The entire eastern U.S. Atlantic coast and the Eastern Gulf of Mexico.
                         President Biden is protecting approximately 334 million acres of the
                         Atlantic Outer Continental Shelf (OCS) from Canada to the southern tip
                         of Florida, and the Eastern Gulf of Mexico. There are currently no active
                         oil and natural gas leases in Federal waters off the eastern Atlantic coast.
                         The southern section of this withdrawal matches a previous
                         Congressional withdrawal enacted by the Gulf of Mexico Energy Security
                         Act of 2006, and a subsequent time-limited 12(a) withdrawal issued by
                         the previous administration that would have expired in 2032 without
                         today’s protections. Today’s withdrawal builds on those prior
                         withdrawals and helps safeguard the multi-billion-dollar fishing and
                         tourism economies in these states.



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                         The Pacific Coast along California, Oregon, and Washington. This
                         withdrawal protects nearly 250 million acres of Federal waters off the
                         West Coast of the mainland U.S. that are prime habitat for seals, sea lions,
                         whales, fish, and countless seabirds. The State of California has had a
                         moratorium on issuing new leases in its state waters since 1969, and the
                         last Federal lease sale in the area being withdrawn was offshore of
                         Southern California in 1984. The Governors of these states have called
                         for full protection of their coasts for decades.

                         The remaining portion of the Northern Bering Sea Climate Resilience
                         Area in Alaska. This withdrawal will protect 44 million acres of the
                         Northern Bering Sea in far northwest Alaska that is home to fish, sea
                         birds, and other wildlife and where there are no existing oil and gas
                         leases. The Northern Bering Sea Climate Resilience Area was established
                         in 2016 and includes one of the largest marine mammal migrations in the
                         world – beluga and bowhead whales, walruses, and seals travel the
                         funnel of the Bering Strait each year to feed and breed in the Arctic. This
                         is an area where oil and gas development would pose severe dangers to
                         coastal communities, and where the health of these waters is critically
                         important to food security and to the culture of more than 70 coastal
                         Tribes, including the Yup’ik, Cup’ik, and Inupiaq people who have relied
                         on these resources for millennia. The Alaskan Congressional delegation
                         has opposed previous proposals to allow oil and gas leasing and drilling
                         in the area.


                   Building on a Historic Ocean Conservation and Climate Legacy


                   Today’s actions build upon the Biden-Harris Administration’s ambitious
                   climate agenda and unprecedented commitment to protect America’s natural
                   wonders now and for future generations. The withdrawals advance two
                   important Biden-Harris Administration priorities: honoring and protecting
                   areas of significance to Tribal Nations and Indigenous peoples as well as
                   States and other stakeholders; and helping to ensure our oceans and coasts
                   are resilient to the threats of climate change and nature loss.


                   The Biden-Harris Administration’s climate and conservation record includes
                   creating three new national marine sanctuaries and a new national estuarine
                   research reserve, including the Chumash Heritage National Marine
                   Sanctuary off the coast of Central California; advancing designations for four

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                   additional sanctuaries; safeguarding Bristol Bay salmon fisheries; approving
                   more than 19 gigawatts of offshore wind projects, enough to power more than
                   6 million homes; investing $2.6 billion in coastal communities; and releasing
                   the first-ever U. S. Ocean Climate Action Plan.


                   With today’s withdrawals, President Biden has now conserved more than 670
                   million acres of U.S. lands, waters, and ocean – more than any president in
                   history. This includes establishing or expanding ten national
                   monuments and restoring protections for three more; creating six new
                   national wildlife refuges; protecting the Boundary Waters of Minnesota, the
                   nation’s most visited wilderness area; and withdrawing Chaco Canyon in
                   New Mexico, Pactola Reservoir in South Dakota, and Thompson Divide in
                   Colorado from further mineral, oil, and gas leasing.

                   These actions are helping advance the President’s America the
                   Beautiful initiative, which is supporting locally led conservation efforts with
                   a goal to protect, conserve, and restore at least 30 percent of U.S. lands and
                   waters by 2030.

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